              Case 6:20-bk-06225-LVV          Doc 22     Filed 02/25/21      Page 1 of 2




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:
                                                        Case No. 6:20-bk-06225-LVV
KEVIN HAGGERTY                                          Chapter 13
            Debtor.
____________________________/


                           MOTION FOR REFERRAL TO MORTGAGE
                                  MODIFICATION MEDIATION
                            (Re: 617 Rosegate Lane, Orlando, FL 32835)

        The Debtor requests entry of an Order referring the Debtor and SN Servicing Corporation
with loan number 3492, whose mortgage lien encumbers the Debtor’s real property, to mortgage to
payment of this modification mediation, and in support state:

         1.     The Debtor filed this Chapter 13 case in an attempt to retain his residence.
      2.       This Debtor would like to modify the terms of the mortgage encumbering hresidence.
The Debtor’s income will allow him to contribute his regular monthly mortgage payment for
payment of this modified mortgage debt.

       3.      Mediation pursuant to Local Rule 9019-2 will assist the parties in negotiation of a
modification of the relevant mortgage.

        4.     The Debtor will pay $250.00 mediation fee directly to the Mediator within seven (7)
days of designation of the Mediator.

         5.     This Motion has been filed timely.

       WHEREFORE, the Debtor requests that this Court will enter an order referring this case to
mediation and for such other and further relief as this Court deems just and proper.
       .

                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY a true and correct copy of the foregoing was furnished on or before
this 25th day of February 2021 by U.S. Mail, and/or by CM/ECF pursuant to Local Rule 7005-3 to:
Laurie K. Weatherford, Chapter 13 Trustee; Howard Law Group, 4755 Technology Way, Suite 104,
Boca Raton, FL 33431 and SN Servicing, 323 5th Street, Eureka, CA 95501.

                                                LAW OFFICES OF PAUL L. URICH, P.A.
Case 6:20-bk-06225-LVV   Doc 22   Filed 02/25/21   Page 2 of 2




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